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 8
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10
                            UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,              No. SACR 17-006-CAS – 1, 2 & 3
13
               Plaintiff,                   [PROPOSED] ORDER CONTINUING
14                                          TRIAL DATE AND FINDINGS REGARDING
                     v.                     EXCLUDABLE TIME PERIODS PURSUANT
15                                          TO SPEEDY TRIAL ACT
     MERRILY ANN STEFFEN,
16   JAMES RANDALL STEFFEN, and             CURRENT TRIAL DATE: 7-30-19
     MILLOY JO BLACKBURN–STEFFEN,           [PROPOSED] TRIAL DATE: 11-5-19
17
               Defendants.                  [PROP.] STATUS CONF./MOTIONS
18                                          HEARING DATE: 10-21-19

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20        The Court has read and considered the Stipulation Regarding

21   Request for (1) Continuance of Trial Date and (2) Findings of

22   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the

23   parties in this matter.     The Court hereby finds that the

24   Stipulation, which this Court incorporates by reference into this

25   Order, demonstrates facts that support a continuance of the trial

26   date in this matter, and provides good cause for a finding of

27   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.

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 1        The Court further finds that: (i) the ends of justice served by

 2   the continuance outweigh the best interest of the public and

 3   defendant in a speedy trial; (ii) failure to grant the continuance

 4   would be likely to make a continuation of the proceeding impossible,

 5   or result in a miscarriage of justice; and (iii) failure to grant

 6   the continuance would unreasonably deny defendant continuity of

 7   counsel and would deny defense counsel the reasonable time necessary

 8   for effective preparation, taking into account the exercise of due

 9   diligence

10        THEREFORE, FOR GOOD CAUSE SHOWN:

11        1.     The trial in this matter is continued from July 30, 2019,

12   to November 5, 2019 at 9:30 a.m..          A status conference/motions

13   hearing shall be held on October 21, 2019 at 1:30 p.m.

14        2.     The time period of July 30, 2019, to November 5, 2019,

15   inclusive, is excluded in computing the time within which the trial

16   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),

17   and (B)(iv).

18        3.     Defendants Merrily Ann Steffen, James Randall Steffen, and

19   Molly Steffen shall appear in Courtroom 8A, 8th Floor, of the U.S.

20   Courthouse, 350 West First Street, Los Angeles, California for a

21   status conference/motion hearings on October 21, 2019 at 1:30 p.m.

22   and for trial on November 5, 2019 at 9:30 a.m.

23        4.     Nothing in this Order shall preclude a finding that other

24   provisions of the Speedy Trial Act dictate that additional time

25   periods are excluded from the period within which trial must

26   commence.   Moreover, the same provisions and/or other provisions of

27   the Speedy Trial Act may in the future authorize the exclusion of

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 1   additional time periods from the period within which trial must

 2   commence.

 3         IT IS SO ORDERED.

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 5   July 31, 2019
     DATE                                       HONORABLE CHRISTINA A. SNYDER
 6                                              United States District Judge

 7   Presented by:

 8       /s/
     JOSEPH O. JOHNS
 9   Assistant United States Attorney
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12   Cc:   Pretrial Services

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